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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                         GAINESVILLE DIVISION

EPHROM CRAY,

             Plaintiff,

v.                                              Case No.: 1:17-cv-00040-MW-GRJ

TEMPOE, LLC, d/b/a WHY NOT
LEASE IT,

             Defendant.
                                        /

                    NOTICE OF PENDING SETTLEMENT

      Defendant, TEMPOE, LLC, d/b/a Why Not Lease It (TEMPOE), by and

through its undersigned counsel, hereby submits this Notice of Pending Settlement

and states that the parties have reached a verbal settlement with regard to this case

and are presently drafting, finalizing, and executing the settlement and dismissal

documents. Upon execution of the same, the parties will file the appropriate

dismissal documents with the Court.

Date: April 21, 2017

                                Respectfully submitted,

                                /s/ Dayle M. Van Hoose
                                Dayle M. Van Hoose, Esq.
                                Florida Bar No. 0016277
                                Rachel A. Morris, Esq.
                                Florida Bar No. 0091498
                                SESSIONS, FISHMAN, NATHAN & ISRAEL, L.L.C.

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                                 Attorneys for Defendant,
                                 TEMPOE, LLC, d/b/a Why Not Lease It



                             CERTIFICATE OF SERVICE

      I certify that on this 21st day of April 2017, a copy of the foregoing was filed

electronically in the ECF system. Notice of this filing will be sent to the parties of

record by operation of the Court’s electronic filing system, including plaintiffs’

counsel as described below. Parties may access this filing through the Court’s

system.

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                                       /s/ Dayle M. Van Hoose
                                       Attorney




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